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  10 Attorneys for Defendant and Counterclaimant Spectrum Laboratories, LLC

  11
                              UNITED STATES DISTRICT COURT
  12
                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  13
       DR. GREENS, INC.,                            ) Case No. 11cv0638 JAH (KSC)
  14                                                )
            Plaintiff,                              )
  15                                                ) SPECTRUM’S OPPOSITION TO
       v.                                           ) GREENS’ PROPOSED VERDICT
  16                                                )
     SPECTRUM LABORATORIES,                         ) FORM
  17 LLC,                                           )
                                                    ) Judge:        Hon. John A. Houston
  18        Defendant.                              )
                                                    ) Mag. Judge: Hon. Karen Crawford
  19                                                ) Filed:        March 29, 2011
                                                    ) Hearing:      February 9, 2018
  20 AND RELATED CROSS-ACTION                       )
                                                    )               @ 9:30 a.m.
  21                                                ) Trial:        February 13, 2018
                                                    )               @ 9:00a.m.
  22                                                )
  23

  24           Dr. Greens and Matt Green (“Greens”) propose to submit special

  25 interrogatories to the jury. (ECF 306) None are needed. More, Greens’ proposed

  26 verdict form leaves out certain of Spectrum’s claims, manufactures defenses that do
  27 not exist and are not supported by the jury instructions submitted by either side, and
  28 misrepresents the elements of and burden of proof for the claims and defenses that
     {7212884: }                         STEPHENS’
                                             1      REPLY MEMO.Case IN No.
                                                                       SUPPORT
                                                                           11cv0638 OF
                                                                                    JAHSTAY
                                                                                        (KSC)
                          SPECTRUM’S OPPOSITION TO GREENS’ PROPOSED VERDICT FORM
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   1 are asserted. The special interrogatories also are confusing, because they do not

   2 make clear which questions must be answered and which need not. All of these

   3 issues are issues for Greens to make in closing argument. The jury then need only

   4 render a general verdict on infringement, vicarious liability, willfulness, and

   5 damages.

   6            If the Court is inclined to allow special interrogatories to be presented to the
   7 jury, the following errors and omissions are present in Greens’ proposal and must be

   8 excluded or modified:

   9            As to Dr. Greens:
  10                 1. Dr. Greens Question No. 5 asks if Spectrum has proved Dr. Greens
  11                    induced infringement. There is no inducement claim against Dr. Greens.
  12                    (See [proposed] Pretrial Order, ECF 292, at PageID 6670-6671.
  13                 2. Dr. Greens fails to present any question as to whether Spectrum has
  14                    proved Dr. Greens engaged in contributory infringement. (See id.)
  15                 3. It is not clear that Questions 7-9 relate only to willfulness.
  16                 4. Dr. Greens’ Questions No. 8 and 9 are redundant. One asks if Dr.
  17                    Greens reasonably believed the patent was invalid for obviousness. The
  18                    other asks if Dr. Greens reasonably believed the patent was invalid due
  19                    to prior art.
  20                 5. Question No. 10 finds no support in the jury instructions or law. Greens
  21                    cannot ask the jury to find no willfulness by reason of a reasonable
  22                    belief the patent was unenforceable for inequitable conduct.
  23                 6. Question 11 misstates the law. Willfulness need only be proven by a
  24                    preponderance of the evidence. Halo Electronics, Inc. v. Pulse
  25                    Electronics, Inc., 136 S.Ct. 1923, 1933-34 (2016); see also Spectrum’s
  26                    Proposed Jury Instructions, ECF 290, at PageID 6647 (model
  27
  28
       {7212884: }                                 STEPHENS’
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   1                    instruction states “more likely than not” is the standard). Greens did not
   2                    and cannot challenge that the model instruction correctly states the law.
   3            As to Matt Green:
   4                 1. Question No. 1 does not follow the elements of active inducement as set
   5                    forth in the jury instructions. It also adds an element: that the jury must
   6                    find Matt Green did not have a good faith belief that the ‘776 patent was
   7                    not infringed or was invalid.
   8                 2. There is no question directed at Spectrum’s alternate theory of recovery
   9                    for vicarious liability against Matt Green.
  10                 3. Questions No. 2-5 are parallel to Questions No. 6-9 for Dr. Greens and
  11                    are problematic for the same reasons.
  12                 4. Question No. 6, like Question No. 10 for Dr. Greens, improperly asks
  13                    the jury to find no willfulness if Mr. Green reasonably believed the
  14                    patent was unenforceable due to inequitable conduct.
  15                 5. Question No. 7 – parallel to Question No. 11 for Dr. Greens –
  16                    improperly states the standard for willful infringement is the clear and
  17                    convincing standard. It is not. Halo, 136 S.Ct. at 1933-34.
  18 /////
  19 Dated: February 8, 2018                             Respectfully submitted,
  20
                                                        McDONALD HOPKINS LLC
  21
                                                        by: s/ David B. Cupar
  22                                                    David B. Cupar
  23                                                    Attorneys for
                                                        Defendant and Counterclaimant
  24                                                    SPECTRUM LABORATORIES, LLC
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       {7212884: }                                STEPHENS’
                                                      3     REPLY MEMO.Case
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   1                                    Certificate of Service
   2            The undersigned hereby certifies that all counsel of record who are deemed to
   3 have consented to electronic service are being served on this 8th day of February,

   4 2018, with a copy of these documents via the Court’s CM/ECF system.

   5

   6                                           By: s/ David B. Cupar
                                               David B. Cupar
   7

   8                                           Attorneys for
   9
                                               Defendant and Counterclaimant
                                               SPECTRUM LABORATORIES, LLC
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